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BRYAN BEVAN, ' " ,
cASE No..

Plain¢irf, 3' l’?~(/V" lBO'l"j~ ;)§ O`K|<
vs.
PROCOLLECT, lNC.,

Del`endant.

/
COMPLAlNT ANI) I)EMAND FOR JURY TRIAL

COMES NOW, Plaintil`f`, BRYAN BEVAN., by and through undersigned counsel,
hereby sues the Dcf`endant, PROCOLLECT, INC., and in support thereof respectfully, alleges
the following:

l. Plaintiff alleges violations of the 'I`elephone Consumer Protection Act, 47 U.S.C.
§227 et seq. (“'I`C PA”).

lNTRODUCTlON

2. The 'I`CPA was enacted to prevent companies like PROCOLLECT, INC., from

invading American citizens` privacy and prevent abusive “robo-calls.”

3. The 'I`CPA is designed to protect individual consumers from receiving intrusive

 

and unwanted telephone calls. See Mims v. Arrow Fin. Servs., LLC., 132 S.Ct. 740, 745 (2012).
4. "Senator Hollings, the TCPA`s sponsor, describes these calls as ‘the scourge of

modern civilization. they wake us up on in the morning; they interrupt our dinner at night; they

force the sick and elderly out ot`bed: they hound us until we want to rip the telephone right out of

the wall." See Mims at 752 (qm)ling l37 Cong. Rec. 30, 821 (1991)). Senator Hollings

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“presumabl[y] intended to give telephone subscribers another option; telling the autodialers to
simply stop calling." ()sorio v. Slale Farm Banlc F.S.B., 746 F.3cl 1242, 1256 (1 1th Cir. Ct. App.
2014).

5. According to the Federal Communications Commission (FCC), "Unwanted calls
and texts are the number one complaint to the FCC. 'l` here are thousands of complaints to the
FCC every month on both telemarketing and robocalls. T he FCC received more than 215,000
'I`CPA complaints in 2014.” Facl Shect on Consumer Prorection Prr)posal, FEDERAL
COMMUNICAT|ONS COMMlSSlON (2016), https://www.fcc.gov/document/fact-sheet-consumer-
protection-proposal (last visited Apr 26, 2017).

JURlSDlCTION AND VENUE

6. Jurisdiction and venue for purposes of this action are appropriate and conferred
by 28 U.S.C. § 1331, Federal Question .lurisdiction, as this action involves violations of the
TCPA and/or by F.S. § 47.011 and/or by 28 U.S.C. § 1332, diversity jurisdiction.

7. Subject matter jurisdiction, federal question jurisdiction, for purposes of this
action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts
shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties
of the United States; and this action involves violations of 47 U.S.C. § 227(b)(l)(A)(iii). See
Mims v. Ar)'ow Fin. Servs., LLC. l32 S. Ct. 740, 748 (2012); and Osorio v. Slate Farm chk.
FS.B., 746 F.3d 1242, 1249 (1 l‘h Cir. Ct. App. 20l4).

8. Venue is proper in this District because the Plaintiff` resides in this District
(Duval County, Florida), the phone calls were received in this District and the Defendant

transacts business in Duval County, Florida.

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FACTUAL ALLEGATIONS

9. Plaintiff` BRVAN BEVAN is a natural person, and citizen of the State of Florida,
residing in Duval County. Florida, and resides in this District.

lO. Plaintift` BRYAN BEVAN is a “called party."` See Soppet v. Enhanced Recovery
Co., LLC, 679 F.3d 637, 643 (7lh Cir. 2012), reh`g denied (May 25, 2012).

ll. Defendant. PROCOLLECT, INC., is a corporation which was formed in Texas
with its principal place of business at l2l70 N. Abrams Rd. Suite 100, Dallas, TX 75243 and
conducts business in the State of Florida.

12. The conduct of Def`endant which gives rise to the cause of action herein alleged
occurred in this District, in Duval County, Florida, by the Defendant’s placing of illegal calls to
Duval County, Florida.

13. Defendant, at all material times, was attempting to collect 0n a residential lease
debt entered into by Plaintiff`, BRYAN BEVAN (hereinafter the “subject account”), which was
originally claimed by COMMONWEALTH OF JACKSONVILLE CH LLC d/b/a “The District
on Kernan,” an apartment complex in .lacksonvillc, Florida, but was then moved into collections
to Defendant.

l4. Defendant knowingly and/or willfully harassed and abused Plaintiff on numerous
occasions by calls to Bryan Bevan’s cell phone.

15. Defendant called this number multiple times, despite clear requests from the
Plaintiff to stop calling, with such frequency as can reasonably be expected to harass, all in an
effort related to the collection of the subject and parents accounts

16. Upon information and bclief. some or all of the calls the Defendant made to

Plaintif`t`s cellular telephone numbers were made using an "automatic telephone dialing system"

 

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which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as specified by 47 U.S.C.§ 227(a)(1) (hereinafter
“autodialcr calls”). Plaintiff will testify that there was a pause before a live person came on the
line.

17. Each of the autodialer calls the Defendant made to Plaintiff"s cellular telephone
numbers was done after he had revoked consent multiple times and without the “prior expressed
consent” of the Plaintiff`.

18. Plaintiff BRYAN BEVAN is the regular user and carrier of the cellular telephone
numbers 1-904-482-9117 and 1-904-235-2652 and was a called party and recipient of
Defendant's autodialer calls.

19. Defendant used an autodialer and called Plaintiff on his cell phone every day for
an extended period of time. with such frequency as can reasonably be expected to harass, all in
an effort related to the collection of the subject account.

20. The autodialer calls from Defendant came from multiple telephone numbers,
including 1-214-382-4871 and 1-214-341-7788.

2l. Beginning in November 20\6, Plaintiff Bevan told a representative from
Defendant that he revoked consent or otherwise wanted the calls to stop.

22. On November 28, 2016. Plaintiff called Defendant and spoke with an agent of
Defendant who specifically stated that Plaintiff"s cell phone number had been on the autodialer
list. Plaintiff again revoked consent for autodialer calls.

23. On that same November 28. 2016 call,_Q§lMig_ceLt_acj_nml_mLtl’_laun_tiH`

revoked consent to call by stating that they had removed his number from the autodialer list.

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24. Despite this acknowledgement, however, the calls to his cell phone continued
through January 2017. Please see Exhibit A, screen shots from Plaintiff’s cell phone,
attached. And Plaintiff continued to call Defendant’s representatives to revoke consent.

25. Despite Plaintiff instructing the Defendant to stop calling, the Defendant’s
autodialer calls to Plaintiff" s cellular phone continued.

26. Despite actual knowledge of their wrongdoing, the Defendant continued the
campaign of autodialer calls, well-beyond, when Plaintiff first advised Defendant to stop calling
him.

27. Defendant`s corporate policy is structured as to continue to call individuals like
the Plaintiff, despite the individuals, like Plaintiff. advising Defendant to stop calling.

28. Defendant’s corporate policy provided no means for the Plaintiff to have his
cellular number removed from the call list or otherwise permit the cessation of and/or
suppression ofcalls to Plaintiff.

29. Defendant has numerous other federal lawsuits pending against them alleging
similar violations as stated in this complaint.

30. Defendant has numerous complaints against them across the country asserting that
their automatic telephone dialing system continues to call people who have revoked consent to
be called.

31. Defendant knowingly employed methods and/or has a corporate policy designed
to harass and abuse individuals and has set up their autodialer in a manner which makes it
virtually impossible for the autodialer calls to stop.

32. Defendant knowingly employed methods that did not permit the cessation of or

suppression of autodialer calls to Plaintiff"s cellular telephones

 

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33. Due to Def`endant`s constant autodialer calls and demands for payment, Plaintiff
has suffered statutory and actual damages in the form of emotional distress, frustration, worry,
anger, and/or loss of capacity to enjoy life.

COUNT l
(Violation of the TCPA - BRYAN BEVAN)

34. Plaintiff BRYAN BEVAN re-alleges and incorporates Paragraphs one (l) through
thirty-three (33) above as ii` fully stated herein.

35. None of Defendant’s autodialer calls placed to Plaintiff BRYAN BEVAN were
for “emergency purposes" as specified in 47 U.S.C. § 227(b)(1)(A).

36. Defendant violated the TCPA, with respect to all of its autodialer calls made to
Plaintiff’s cellular telephone number after Plaintiff revoked consent to be called and without
Plaintiff`s prior express consent.

37. 'l`he Defendant willfully and/or knowingly violated the TCPA, especially for each
of the autodialer calls made to Plaintiff's cellular telephone after Plaintiff notified Defendant in
November 2016_. when Plaintiff verbally withdrew, revoked, and/or terminated any alleged
consent Defendant believed it had to contact him, and told Defendant to stop calling him,

38. Defendant repeatedly placed non-emergency telephone calls to Plaintiff"s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff"s prior express consent in violation of federal law, including 47 U.S.C. §
227(b)(l)(A)(iii).

WHEREFORE, Plaintiff BRYAN BEVAN respectfully demands a trial by jury on all
issues so triable and judgment against Defendant, PROCOLLECT, INC., for statutory damages,

actual damages, treble damages, punitive damages. costs, interest, and any other such relief the

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court may deem just and proper.
TRIAL BV JURY

39. Plaintiff is entitled to and hereby respectfully demand a trial by jury on all issues
so triable.
SPOILATION NOTICE AND DEMAND TO RETA|N EVIDENCE
Plaintiff hereby gives notice to Defendant and demands that Defendant and its affiliates
safeguard all relevant evidence - paper. audio recordings, electronic documents, or data -
pertaining to this litigation as required by law.
Dated this 20‘h day of November, 2017.

MAX HUN'I`ER STORY, P.A.

/s/ Max Storv

Max Story, Esquire

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